       1:16-cv-01336-JES-JEH # 158         Page 1 of 3                                        E-FILED
                                                                   Thursday, 24 May, 2018 03:13:39 PM
                                                                         Clerk, U.S. District Court, ILCD

              IN THE UNITED STATES DISTRICT COURT FOR THE
              CENTRAL DISTRICT OF ILLINOIS, PEORIA DIVISION


TERENCE TAYLOR,                                     )
                                                    )
               Plaintiff,                           )
                                                    )
               v.                                   )    Case No. 16 C 1336
                                                    )
MAJOR MAGARVIE, ET AL.,                             )    Judge James E. Shadid
                                                    )
               Defendants.                          )
                                                    )
                                                    )    JURY TRIAL DEMANDED
                                                    )



PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
        TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT

       NOW COMES Plaintiff, TERENCE TAYLOR, by and through his attorneys,

Loevy & Loevy, and respectfully requests that this Court grant him an extension of time

until June 13, 2018, in which to respond to Defendants Motions for Summary Judgment

(Dckt Nos. 155, 156, 157.) In support of this motion, Plaintiff states as follows:

       1.     Defendants Wexford Health Sources, Cynthia Garcia, Latanya Williams

and Meghan Foley filed their Motion for Summary Judgment on May 4, 2018. (Dckt.

No. 155.) Plaintiff’s response would be due May 25, 2018.

       2.     IDOC Defendants Tarry Williams, Michael Magana, Michael Lemke,

Naveen Nagpal, Royce Brown-Reed, Victor Calloway, Dominic M. Griffin, Jenny

McGarvey, Randy Malkowski, Tralon Durrett, Guy Pierce, Mary Ellen Grennan,

Kimberly Kelley, Krisi Eschleman, and Rebecca Buczkowski filed their Motion for
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Summary Judgment on May 18, 2018. (Dckt. No. 156.) Plaintiff’s response would be

due June 8, 2018.

       3.     Defendant Ghaliah Obaisai filed her Motion for Summary Judgment on

May 23, 2018. Plaintiff’s response is due June 13, 2018. (Dckt. No. 157.)

       4.     Due to other professional commitments, Plaintiff’s counsel has been

unable to visit Plaintiff, who is incarcerated, to discuss his response before filing.

       5.     Plaintiff respectfully requests an extension of time until June 13, 2018, in

which to respond to all three of the Defendants’ Motions for Summary Judgment so that

he may confer with his attorney and respond to the three Motions for Summary

Judgment at once. Since the last of the three responses would be due June 13, 2018, this

request will not prejudice any parties in this case or delay the schedule set by the Court.

       6.     Defendants do not oppose this request.

       7.     This motion is brought in good faith and will not prejudice any party.



                                                          Respectfully Submitted,



                                                           /s/ Tara Thompson
                                                          Counsel for Petitioner

Tara Thompson
Loevy & Loevy
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(312) 243-5900
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                             CERTIFICATE OF SERVICE

       I, Tara Thompson, an attorney, certify that on May 24, 2018, I caused the
foregoing Plaintiff’s Motion for an Extension of Time to be filed using the Court’s
CM/ECF system, which effected service on all counsel of record.

                                                /s/ Tara Thompson
                                                Attorney for Plaintiff
